Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-27 Filed 10/11/19
                                123-32 Filed 01/10/20 Page
                                                      Page 2
                                                           1 of
                                                             of 58
                                                                57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 3
                                                           2 of 58
                                                                57
Case 1:16-cv-09390-GHW Document 141-27       01/10/20 Page 4
                                123-32 Filed 10/11/19      3 of 58
                                                                57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 5
                                                           4 of 58
                                                                57
Case 1:16-cv-09390-GHW Document 141-27       01/10/20 Page 6
                                123-32 Filed 10/11/19      5 of 58
                                                                57
Case 1:16-cv-09390-GHW Document 141-27       01/10/20 Page 7
                                123-32 Filed 10/11/19      6 of 58
                                                                57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 8
                                                           7 of 58
                                                                57
Case 1:16-cv-09390-GHW Document 141-27       01/10/20 Page 9
                                123-32 Filed 10/11/19      8 of 58
                                                                57
Case 1:16-cv-09390-GHW
Case 1:16-cv-09390-GHW Document
                       Document123-32
                                141-27 Filed
                                       Filed10/11/19
                                             01/10/20 Page
                                                      Page10
                                                           9 of
                                                             of57
                                                                58
Case 1:16-cv-09390-GHW Document 141-27       01/10/20 Page 11
                                123-32 Filed 10/11/19      10 of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 12
                                                           11 of 58
                                                                 57
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-27 Filed 10/11/19
                                123-32 Filed 01/10/20 Page
                                                      Page 13
                                                           12 of
                                                              of 58
                                                                 57
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-27 Filed 10/11/19
                                123-32 Filed 01/10/20 Page
                                                      Page 14
                                                           13 of
                                                              of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27       01/10/20 Page 15
                                123-32 Filed 10/11/19      14 of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27       01/10/20 Page 16
                                123-32 Filed 10/11/19      15 of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 17
                                                           16 of 58
                                                                 57
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-27 Filed 10/11/19
                                123-32 Filed 01/10/20 Page
                                                      Page 18
                                                           17 of
                                                              of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 19
                                                           18 of 58
                                                                 57
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-27 Filed 10/11/19
                                123-32 Filed 01/10/20 Page
                                                      Page 20
                                                           19 of
                                                              of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27       01/10/20 Page 21
                                123-32 Filed 10/11/19      20 of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 22
                                                           21 of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27       01/10/20 Page 23
                                123-32 Filed 10/11/19      22 of 58
                                                                 57
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-27 Filed 10/11/19
                                123-32 Filed 01/10/20 Page
                                                      Page 24
                                                           23 of
                                                              of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 25
                                                           24 of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27       01/10/20 Page 26
                                123-32 Filed 10/11/19      25 of 58
                                                                 57
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-27 Filed 10/11/19
                                123-32 Filed 01/10/20 Page
                                                      Page 27
                                                           26 of
                                                              of 58
                                                                 57
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-27 Filed 10/11/19
                                123-32 Filed 01/10/20 Page
                                                      Page 28
                                                           27 of
                                                              of 58
                                                                 57
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-27 Filed 10/11/19
                                123-32 Filed 01/10/20 Page
                                                      Page 29
                                                           28 of
                                                              of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27       01/10/20 Page 30
                                123-32 Filed 10/11/19      29 of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27       01/10/20 Page 31
                                123-32 Filed 10/11/19      30 of 58
                                                                 57
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-27 Filed 10/11/19
                                123-32 Filed 01/10/20 Page
                                                      Page 32
                                                           31 of
                                                              of 58
                                                                 57
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-27 Filed 10/11/19
                                123-32 Filed 01/10/20 Page
                                                      Page 33
                                                           32 of
                                                              of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 34
                                                           33 of 58
                                                                 57
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-27 Filed 10/11/19
                                123-32 Filed 01/10/20 Page
                                                      Page 35
                                                           34 of
                                                              of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27       01/10/20 Page 36
                                123-32 Filed 10/11/19      35 of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27       01/10/20 Page 37
                                123-32 Filed 10/11/19      36 of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 38
                                                           37 of 58
                                                                 57
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-27 Filed 10/11/19
                                123-32 Filed 01/10/20 Page
                                                      Page 39
                                                           38 of
                                                              of 58
                                                                 57
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-27 Filed 10/11/19
                                123-32 Filed 01/10/20 Page
                                                      Page 40
                                                           39 of
                                                              of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 41
                                                           40 of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27       01/10/20 Page 42
                                123-32 Filed 10/11/19      41 of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 43
                                                           42 of 58
                                                                 57
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-27 Filed 10/11/19
                                123-32 Filed 01/10/20 Page
                                                      Page 44
                                                           43 of
                                                              of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27       01/10/20 Page 45
                                123-32 Filed 10/11/19      44 of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 46
                                                           45 of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 47
                                                           46 of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 48
                                                           47 of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 49
                                                           48 of 58
                                                                 57
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-27 Filed 10/11/19
                                123-32 Filed 01/10/20 Page
                                                      Page 50
                                                           49 of
                                                              of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 51
                                                           50 of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 52
                                                           51 of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 53
                                                           52 of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 54
                                                           53 of 58
                                                                 57
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-27 Filed 10/11/19
                                123-32 Filed 01/10/20 Page
                                                      Page 55
                                                           54 of
                                                              of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27
                                123-32 Filed 10/11/19
                                             01/10/20 Page 56
                                                           55 of 58
                                                                 57
Case 1:16-cv-09390-GHW Document 141-27       01/10/20 Page 57
                                123-32 Filed 10/11/19      56 of 58
                                                                 57
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-27 Filed 10/11/19
                                123-32 Filed 01/10/20 Page
                                                      Page 58
                                                           57 of
                                                              of 58
                                                                 57
